 Case
  Case2:12-md-02327
       2:12-md-02327 Document
                      Document445-1 Filed03/15/13
                               434 Filed  03/27/13 Page
                                                    Page11ofof77PageID
                                                                 PageID#:#:5101
                                                                            5209




                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                             CHARLESTON DIVISION

IN RE: ETHICON, INC.
PELVIC REPAIR SYSTEM,
PRODUCTS LIABILITY LITIGATION                                      MDL NO. 2327
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THIS DOCUMENT RELATES TO ALL CASES

         NOTICE TO TAKE VIDEO DEPOSITION OF PATRICIA HOJNOSKI

TO:    Defendant ETHICON, INC., and Johnson & Johnson, Inc., (hereinafter “Defendants”)

and its Attorneys of Record.

       Please take notice that in accordance with the Rules of Civil Practice and Procedure,

Plaintiffs, by and through their counsel, will take the videotaped deposition of PATRICIA

HOJNOSKI to begin on April 16, 2013, at 9:00 a.m., at the offices of Riker Danzig at One

Speedwell Avenue in Morristown, New Jersey. The deposition will be taken before a person

authorized by law to administer oaths, pursuant to the Federal Rules of Civil Procedure. The

deposition will be recorded by both stenographic and audiovisual means by Golkow

Technologies, Inc., and will continue day-to-day until the examination is completed.

       You are hereby requested to produce within 10 days in advance of the date of the

deposition, the documents and information set forth in Exhibit “A” annexed hereto, to the extent

such documents and information have not already been produced.

       This 15th day of March, 2013.
Case
 Case2:12-md-02327
      2:12-md-02327 Document
                     Document445-1 Filed03/15/13
                              434 Filed  03/27/13 Page
                                                   Page22ofof77PageID
                                                                PageID#:#:5102
                                                                           5210




                                    PLAINTIFFS’ CO-LEAD COUNSEL


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                                      2
 Case
  Case2:12-md-02327
       2:12-md-02327 Document
                      Document445-1 Filed03/15/13
                               434 Filed  03/27/13 Page
                                                    Page33ofof77PageID
                                                                 PageID#:#:5103
                                                                            5211




                             DEFINITIONS AND INSTRUCTIONS

       The following Definitions and Instructions shall apply to the Notice of Deposition. To

the extent a term commonly in use in the medical device industry is not defined herein, it shall be

understood to be consistent with the meaning commonly ascribed to that term in the medical

device industry.

       1.          "Document" means and includes the original and all non-identical copies or

drafts of the following items: agreements; drafts; e-mails; communications; correspondence;

telegrams; cables; facsimiles; memoranda; records; books; financial statements; summaries of

records or notes of personal conversations or interviews; diaries; calendars; forecasts;

statistical statements; accountants' work papers; graphs; charts; maps; diagrams; blue prints;

tables; indexes; pictures; recordings; tapes; microfilm; charge clips; accounts; analytical

records; minutes or records of meetings or conferences; reports and/or summaries of

investigations; opinions or reports of consultants; appraisals; reports and/or summaries of

negotiations; brochures; pamphlets; circulars; trade letters; press releases; contracts;

stenographic, handwritten or any other notes; projections; working papers; federal and state

income tax returns; checks, front and back; check stubs or receipts; shipping documents;

manifests; invoice vouchers; computer printouts and computer disks and tapes; and tape data

sheets or data processing cards or disks or any other written, recorded, transcribed, punched,

taped, filmed or graphic matters; however produced or reproduced. Document shall also

include any and all items defined under Fed. R. Civ. P. 34(a)(l).

       2.      "Communication" means every manner or means of disclosure or exchange

of information, regardless of means utilized, whether oral, written, electronic, or by

document or otherwise, and whether face-to-face, in a meeting, by telephone, mail, telex,

                                                 3
 Case
  Case2:12-md-02327
       2:12-md-02327 Document
                      Document445-1 Filed03/15/13
                               434 Filed  03/27/13 Page
                                                    Page44ofof77PageID
                                                                 PageID#:#:5104
                                                                            5212




discussion, release, personal delivery, or otherwise. Documents that typically reflect a

"communication" include letters, electronic-mail, instant messages, handwritten notes, call

logs, telephone memoranda, slips, daily appointment books and diaries, bills, checks,

correspondence, and memoranda, and includes all drafts of such documents.

        3.       "Person" means any natural or artificial person, including business entities and

other legal entities.

        4.       "And" or "or" shall be construed conjunctively or disjunctively as necessary to

make the requests inclusive rather than exclusive. The use of the word "including" shall be

construed to mean "without limitation."

        5.       Reference to the singular in any of these requests shall also include a reference to

the plural, and reference to the plural shall include a reference to the singular.

        6.       "Related to" or "relating to" shall mean directly or indirectly supporting,

evidencing, describing, mentioning, alluding to, referring to, contradicting, comprising or

concerning.

        7.      All documents should be produced which are not subject to an objection and are

known by, possessed or controlled by, or available to you, or your attorneys, representatives, or

other agents.

        8.       All documents are to be produced in their entirety, without abbreviation or

redaction, including both front and back thereof, and all attachments or other matters affixed

thereto.

        9.       These requests shall be deemed continuing so as to require further and

supplemental production by you in the event you obtain or discover additional documents

between the time of responding to this subpoena and the time of any hearing or trial.


                                                   4
 Case
  Case2:12-md-02327
       2:12-md-02327 Document
                      Document445-1 Filed03/15/13
                               434 Filed  03/27/13 Page
                                                    Page55ofof77PageID
                                                                 PageID#:#:5105
                                                                            5213




       10.     “Defendants”, “Ethicon”, “Ethicon, Inc.”, “Johnson & Johnson Inc.”, “you” or

“your” refers to, without limitation, Ethicon, Inc., and Johnson & Johnson Inc., and all business

entities with which it is or has been affiliated, together with any predecessor, successor, parent,

or subsidiary entity as well as any officer, director, employee, attorney, agent, or representative

of any such other business entity previously described herein.

       11.     “You” and “your” mean Defendants and any of its directors, officers, sales

representatives, agents (including attorneys, accountants, consultants, investment advisors or

bankers), employees, representatives and any other person purporting to act on its behalf. In the

case of business entities, these defined terms include divisions, affiliates, subsidiaries,

predecessor entities, acquired entities, related entities, or any other entity acting or purporting to

act on your behalf.

       12.      “TVT” or “TVT products” means the TVT “classic” Tension Free Vaginal Tape

System, as well as the TVT-Obturator, TVT-Secur, TVT-Exact, and TVT-Abbrevo which were

developed, designed, distributed, licensed, manufactured, marketed or sold for the treatment of

Stress Urinary Incontinence (SUI). The term “TVT” or “TVT products” also includes any kits or

tools designed to be sold with the TVT products including, but not limited to the TVT-AA and

TVT-D.

       13      “Relevant Time Period” means the time period from when you first developed,

designed, distributed, licensed, manufactured, marketed or sold TVT to the present.

       14.        You are to produce all responsive documents to the undersigned counsel no

later than 14 days before the deposition.




                                                  5
 Case
  Case2:12-md-02327
       2:12-md-02327 Document
                      Document445-1 Filed03/15/13
                               434 Filed  03/27/13 Page
                                                    Page66ofof77PageID
                                                                 PageID#:#:5106
                                                                            5214




                                          EXHIBIT A

 NOTE: If you believe that the production of any materials specified below would require
 you to disclose confidential health information, the disclosure of which you believe is
 prohibited by the Health Insurance Portability and Accountability Act (HIPAA) or any
 other law, Plaintiffs will accept materials that have been redacted to comply with such law.
 Plaintiffs expressly reserve the right to challenge any such redaction.


       From any electronic or physical files kept, maintained, controlled or accessible by

Patricia Hojnoski or the Defendants, please produce the following:

       1.      All documents relied upon by the deponent in preparing for this deposition.

       2.      All documents concerning corporate, departmental, and employee organizational

charts for the Relevant Time Period.

       3.      A copy of the current resume and/or curriculum vitae for Patricia Hojnoski.

       4.      A copy of the personnel file and/or employment file for Patricia Hojnoski.

       5.      All documents concerning your protocol or standard operating procedures (SOP)

for Ethicon, Inc.’s regulatory department applicable to the TVT products for the entire relevant

time period, including history of changes and archival versions.

       6.      All documents that index or catalog Defendants’ approved or draft advertising,

sales and marketing materials, and print and broadcast advertisements, sales aids, visuals, sales

scripts, sales guides, and reminder pieces relating to TVT products.

       7.      All documents relating to, submitted to, created by, or concerning any committee

or group that reviews and approves any labeling, packaging, advertising, sales and marketing

materials, or external communications relating to TVT products.

       8.      All documents relating to any FDA 522 Orders for TVT products.

       9.      All documents relating to Ethicon’s decision to cease commercialization of or



                                                6
 Case
  Case2:12-md-02327
       2:12-md-02327 Document
                      Document445-1 Filed03/15/13
                               434 Filed  03/27/13 Page
                                                    Page77ofof77PageID
                                                                 PageID#:#:5107
                                                                            5215




withdraw from market any TVT products.




                                         7
